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Exhibit 2-E

Form Beneficial Holder Ballot For Classes A6 and B5
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Energy Future Holdings Corp., et al.
Beneficial Holder Ballot for

Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai.,! Case No. 14-10979 (CSS)

Debtors. Jointly Administered

Nee Nee ee ee ee ee ee ee”

BENEFICIAL HOLDER BALLOT FOR ACCEPTING
OR REJECTING THE FIRST AMENDED JOINT PLAN OF REORGANIZATION OF
ENERGY FUTURE HOLDINGS CORP., ENERGY FUTURE INTERMEDIATE HOLDING COMPANY
LLC, AND THE EFH/EFIH DEBTORS PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

CLASS A6 — EFH LBO NOTE PRIMARY CLAIMS
CLASS B5 — EFH LBO NOTE GUARANTY CLAIMS

e IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING PROCEDURES, PLEASE
CONTACT THE DEBTORS’ SOLICITATION AGENT, EPIQ BANKRUPTCY SOLUTIONS, LLC (THE
“SOLICITATION AGENT”) AT (877) 276-7311 OR E-MAIL EFHVOTE@EPIQSYSTEMS.COM AND
REFERENCE “EFH/EFIH” IN THE SUBJECT LINE.

e PLEASE READ AND FOLLOW THE ENCLOSED VOTING INSTRUCTIONS CAREFULLY BEFORE
COMPLETING THIS BALLOT. THIS BALLOT IS BEING SUBMITTED TO YOU TO SOLICIT YOUR VOTE

TO THE DEBTORS’ PLAN (INCLUDING THE RELEASES CONTAINED IN ARTICLE VII OF THE PLAN).

e THIS BALLOT (OR THE MASTER BALLOT REFLECTING THE VOTE CAST ON THIS BALLOT) MUST
BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BEFORE 4:00 P.M., PREVAILING
EASTERN TIME, ON OCTOBER 30, 2017 (THE “VOTING DEADLINE”).

e IF A BENEFICIAL HOLDER HOLDS CLASS A6 AND CLASS B5 CLAIMS IN ITS OWN NAME AND/OR
THROUGH ONE OR MORE NOMINEES,” SUCH BENEFICIAL HOLDER MUST IDENTIFY ALL CLASS A6
AND CLASS B5 CLAIMS HELD IN ACCORDANCE WITH ITEM 4 OF THIS BALLOT, AND MUST
INDICATE THE SAME VOTE TO ACCEPT OR REJECT THE PLAN ON ALL BALLOTS SUBMITTED.

e IF THE COURT CONFIRMS THE PLAN, IT WILL BIND YOU REGARDLESS OF WHETHER YOU HAVE
VOTED.

e NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR TO MAKE ANY
REPRESENTATION, OTHER THAN WHAT IS INCLUDED IN THE MATERIALS MAILED WITH THIS
BALLOT.

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the debtors’ service
address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these chapter 11 cases, which are
being jointly administered, a complete list of the debtors and the last four digits of their federal tax identification numbers is not
provided herein. A complete list of such information may be obtained on the website of the debtors’ claims and noticing agent
at http://www.efhcaseinfo.com.

2 “Nominee” means a broker, dealer, commercial bank, trust company or other agent nominee who holds Class A6 EFH LBO
Note Primary Claims and Class B5 EFH LBO Note Guaranty Claims for the benefit of certain Beneficial Holders.

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]
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Class B5 EFH LBO Note Guaranty Claims

Energy Future Holdings Corp. (“EFH Corp.”), certain of its direct and indirect subsidiaries (together with EFH Corp.,
the “EFH Debtors”),? Energy Future Intermediate Holding Company LLC (“EFIH”), and EFIH Finance, Inc. (together
with EFTH, the “EFTH Debtors,” and together with the EFH Debtors, the “EFH/EFIH Debtors”) are soliciting votes with
respect to the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy Future
Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code (as
may be modified, amended, or supplemented from time to time, the “Plan”).*

The Class A6 EFH LBO Note Primary Claims and Class BS EFH LBO Note Guaranty Claims include any Claim
derived from or based upon any EFH LBO Note Claims. This Beneficial Holder Ballot (the “Ballot”) is being sent to
you because records indicate that you are the Beneficial Holder of a Class A6 EFH LBO Note Primary Claim and a
Class B5 EFH LBO Note Guaranty Claim as of SEPTEMBER 6, 2017 (the “Voting Record Date”), and, accordingly,
you may have a right to vote to accept or reject the Plan. This Ballot may not be used for any purpose other than for
submitting votes with respect to the Plan. CUSIPS for Class Class A6 EFH LBO Note Primary Claims and Class B5
EFH LBO Note Guaranty Claims entitled to vote are identified on Exhibit A attached hereto.

The Disclosure Statement for the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy
Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy
Code and all exhibits related thereto (as may be modified, amended, or supplemented from time to time, the “EFH
Disclosure Statement”) describe the rights and treatment for each Class. The Plan and EFH Disclosure Statement are
included in the packet you are receiving with this Beneficial Holder Ballot (collectively, the “Solicitation Package”).

YOUR VOTE ON THIS BALLOT FOR CLASS A6 EFH LBO NOTE PRIMARY CLAIMS AND CLASS BS
EFH LBO NOTE GUARANTY CLAIMS SHALL BE APPLIED TO EACH DEBTOR AGAINST WHOM YOU
HAVE A CLASS A6 AND CLASS B5 CLAIM.

You should carefully and thoroughly review the EFH Disclosure Statement and Plan before you vote to accept or reject
the Plan. You may wish to seek legal advice concerning the Plan and classification and treatment of your Claim under
the Plan. Your Claim has been placed in Class A6 and Class B5 under the Plan. Attached as an exhibit to the EFH
Disclosure Statement is the EFH Disclosure Statement Order which contains the Solicitation Procedures which govern
the solicitation and tabulation of votes to accept or reject the Plan.

THE VOTING DEADLINE IS 4:00 P.M., PREVAILING EASTERN TIME, ON OCTOBER 30, 2017.
Item 1. Amount of Class A6 and Class B5 EFH LBO Claim.

The undersigned hereby certifies that as of the Voting Record Date, the undersigned was the Beneficial Holder (or
authorized signatory for a Beneficial Holder), of a Class A6 EFH LBO Note Primary Claim and Class BS EFH LBO
Note Guaranty Claim in the following amount (insert amount in box below). If your Class A6 EFH LBO Note Primary
Claim and Class B5 EFH LBO Note Guaranty Claim is held by a Nominee on your behalf and you do not know the
amount of the EFH LBO Note Claim held, please contact your Nominee immediately.

3 The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH Australia (No. 2)
Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH Renewables Company LLC,
Generation Development Company LLC, LSGT Gas Company LLC, LSGT SACROC, Inc., NCA Development Company LLC,
and TXU Receivables Company.

Capitalized terms, used but not otherwise defined herein shall have the meanings ascribed to such terms in the Plan.

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et ai.
Beneficial Holder Ballot for

Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

Item 2. Vote of Class A6 and Class BS EFH LBO Claim.

The Beneficial Holder of the Class A6 EFH LBO Note Primary Claim and Class BS EFH LBO Note Guaranty

Claim set forth in Item 1 votes to (please check one):

Check one box: oO Accept the Plan

J Reject the Plan

ITEM 3. ARTICLE VIIL.D OF THE PLAN PROVIDES FOR THE FOLLOWING RELEASES BY HOLDERS

OF CLAIMS AND INTERESTS (THE “RELEASES”):

EXCEPT AS OTHERWISE PROVIDED IN THE PLAN, AS OF THE EFH EFFECTIVE
DATE, EACH RELEASING PARTY IS DEEMED TO HAVE RELEASED AND
DISCHARGED EACH DEBTOR, REORGANIZED EFH/EFIH DEBTOR, AND RELEASED
PARTY FROM ANY AND ALL CLAIMS AND CAUSES OF ACTION, INCLUDING
CLAIMS AND CAUSES OF ACTION IDENTIFIED, CLAIMED, OR RELEASED IN THE
STANDING MOTIONS, THE LITIGATION LETTERS, OR THE DISINTERESTED
DIRECTORS SETTLEMENT, AS WELL AS ALL OTHER CLAIMS AND CAUSES OF
ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY DERIVATIVE
CLAIMS, ASSERTED ON BEHALF OF THE DEBTORS, THAT SUCH ENTITY WOULD
HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER INDIVIDUALLY OR
COLLECTIVELY), BASED ON OR RELATING TO, OR IN ANY MANNER ARISING
FROM, IN WHOLE OR IN PART, THE DEBTORS (INCLUDING THE MANAGEMENT,
OWNERSHIP OR OPERATION THEREOF), THE DEBTORS’ IN- OR OUT-OF-COURT
RESTRUCTURING EFFORTS, INTERCOMPANY TRANSACTIONS (INCLUDING
DIVIDENDS PAID), TRANSACTIONS PURSUANT AND/OR RELATED TO THE MASTER
SEPARATION AGREEMENT DATED DECEMBER 12, 2001, THE TCEH CREDIT
AGREEMENT, THE TCEH FIRST LIEN NOTES, THE CASH COLLATERAL ORDER
(AND ANY PAYMENTS OR TRANSFERS IN CONNECTION THEREWITH), THE TCEH
FIRST LIEN INTERCREDITOR AGREEMENT, THE LIABILITY MANAGEMENT
PROGRAM, THE TAX SHARING AGREEMENTS, THE 2007 ACQUISITION, THE
MANAGEMENT AGREEMENT, THE 2009 AMENDMENT TO THE TCEH CREDIT
AGREEMENT, THE 2011 AMEND AND EXTEND TRANSACTIONS, THE 2005 ONCOR
TRANSFER, THE 2013 REVOLVER EXTENSION, THE LUMINANT MAKEWHOLE
SETTLEMENT, THE TAX AND INTEREST MAKEWHOLE AGREEMENTS, THE TCEH
INTERCOMPANY NOTES, THE SHARED SERVICES, ANY PREFERENCE OR
AVOIDANCE CLAIM PURSUANT TO SECTIONS 544, 547, 548, AND 549 OF THE
BANKRUPTCY CODE, THE FORMULATION, PREPARATION, DISSEMINATION,
NEGOTIATION, OR FILING OF THE TERMINATED RESTRUCTURING SUPPORT
AGREEMENT, THE PLAN SUPPORT AGREEMENT, THE NEE PLAN SUPPORT
AGREEMENT, THE EFIH UNSECURED CREDITOR PLAN SUPPORT AGREEMENT,
THE SEMPRA PLAN SUPPORT AGREEMENT, THE EFH/EFIH COMMITTEE
SETTLEMENT, THE EFIH SETTLEMENT AGREEMENT, THE EFIH FIRST LIEN
PRINCIPAL SETTLEMENT, THE ORIGINAL CONFIRMED PLAN, THE NEXTERA
PLAN, OR ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT,
RELEASE, OR OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY
LEGAL OPINION REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION,
CONTRACT, INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT CONTEMPLATED
BY THE PLAN OR THE RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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Class B5 EFH LBO Note Guaranty Claims

EFH CONFIRMATION ORDER IN LIEU OF SUCH LEGAL OPINION) CREATED OR
ENTERED INTO IN CONNECTION WITH THE PLAN SUPPORT AGREEMENT, THE
NEE PLAN SUPPORT AGREEMENT, THE EFIH UNSECURED CREDITOR PLAN
SUPPORT AGREEMENT, THE SEMPRA PLAN SUPPORT AGREEMENT, THE EFIH
SETTLEMENT AGREEMENT, THE EFH/EFIH COMMITTEE SETTLEMENT, THE PIK
SETTLEMENT (WHETHER TERMINATED PURSUANT TO ITS TERMS OR
OTHERWISE) AND ANY DIRECTION TAKEN BY THE EFIH UNSECURED NOTES
TRUSTEE IN CONNECTION THEREWITH (PRIOR TO TERMINATION), THE
TERMINATED RESTRUCTURING SUPPORT AGREEMENT, THE EFH DISCLOSURE
STATEMENT, THE TCEH DISCLOSURE STATEMENT, THE PLAN, THE
TRANSACTION AGREEMENTS, THE DIP FACILITIES, THE CHAPTER 11 CASES, THE
FILING OF THE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION, THE
PURSUIT OF CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF
THE PLAN, INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES
PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE
PLAN, THE TRANSACTION AGREEMENTS, OR ANY OTHER RELATED AGREEMENT,
OR UPON ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT,
OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFH EFFECTIVE
DATE RELATED OR RELATING TO THE FOREGOING. NOTWITHSTANDING
ANYTHING TO THE CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH
ABOVE DO NOT RELEASE (I) ANY POST-EFH EFFECTIVE DATE OBLIGATIONS OF
ANY PARTY OR ENTITY UNDER THE PLAN, (ID ANY RESTRUCTURING
TRANSACTION, (ID ANY DOCUMENT, INSTRUMENT, OR AGREEMENT (INCLUDING
THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE
PLAN, AND (IV) THE CLAIMS AND CAUSES OF ACTION SET FORTH IN SECTION 6.12
OF THE PARENT DISCLOSURE LETTER DELIVERED IN CONNECTION WITH THE
NEE MERGER AGREEMENT; PROVIDED, HOWEVER, THAT SUCH CLAIMS AND
CAUSES OF ACTION SET FORTH IN SECTION 6.12 OF SUCH PARENT DISCLOSURE
LETTER DELIVERED IN CONNECTION WITH THE NEE MERGER AGREEMENT
SHALL BE SUBJECT TO TREATMENT PURSUANT TO THE PLAN AND SHALL BE
DISCHARGED AS SET FORTH IN’ ARTICLE VILA OF THE PLAN.
NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
RELEASES SET FORTH ABOVE DO NOT RELEASE ANY CLAIMS OR CAUSES OF
ACTION AGAINST ONE OR MORE OF NEXTERA AND ITS CURRENT AND FORMER
SUBSIDIARIES (THE “NEE RELEASED PARTIES”) RELATING TO THE PURSUIT OF
APPROVAL OF THE TRANSACTIONS CONTEMPLATED IN THE ORIGINAL
CONFIRMED PLAN (INCLUDING, FOR THE AVOIDANCE OF DOUBT, CLAIMS OR
CAUSES OF ACTION REGARDING THE EFFECT OF THE FILING OF DOCKET NO.
7028 ON APPROVAL OF THE TRANSACTIONS CONTEMPLATED IN THE ORIGINAL
CONFIRMED PLAN) OR CLAIMS OR CAUSES OF ACTION THAT MAY BE BROUGHT
BY ONE OR MORE OF THE NEE RELEASED PARTIES AGAINST ANY PARTY WHO
BRINGS A CLAIM OR CAUSE OF ACTION AGAINST THE NEE RELEASED PARTIES
RELATING TO THE PURSUIT OF APPROVAL OF THE TRANSACTIONS
CONTEMPLATED IN THE ORIGINAL CONFIRMED PLAN; PROVIDED, HOWEVER,
FOR THE AVOIDANCE OF DOUBT, THAT ANY RELEASES SET FORTH ABOVE
SOLELY TO THE EXTENT APPLICABLE PURSUANT TO THE TERMS SET FORTH
ABOVE, SHALL APPLY TO THE NEE RELEASED PARTIES’? CURRENT AND FORMER
DIRECTORS, MANAGERS, OFFICERS, INDIVIDUAL EQUITY HOLDERS
(REGARDLESS OF WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR
INDIRECTLY), ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS,
CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN
THEIR CAPACITY AS SUCH. NOTWITHSTANDING ANYTHING TO THE CONTRARY
IN THE FOREGOING, AND FOR THE AVOIDANCE OF DOUBT, THE TCEH
SETTLEMENT CLAIM SHALL BE TREATED, RELEASED, AND DISCHARGED ON THE
EFH EFFECTIVE DATE. FOR THE AVOIDANCE OF DOUBT, (1) THE RELEASING

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PARTIES PROVIDED THE RELEASE SET FORTH IN ARTICLE VIILD OF THE PLAN
FOR ALL CLAIMS AND CAUSES OF ACTION THAT RELATE TO THE TCEH DEBTORS,
REORGANIZED TCEH DEBTORS, EFH SHARED SERVICES DEBTORS, REORGANIZED
EFH SHARED SERVICES DEBTORS, OR ANY NON-DEBTOR AFFILIATE TO BE
TRANSFERRED TO THE REORGANIZED TCEH DEBTORS, INCLUDING EFH
PROPERTIES COMPANY, AS OF THE TCEH EFFECTIVE DATE; AND (I) THE
RELEASING PARTIES SHALL PROVIDE THE RELEASE SET FORTH IN ARTICLE
Vili.D OF THE PLAN FOR ALL CLAIMS AND CAUSES OF ACTION THAT RELATE TO
THE EFH DEBTORS, REORGANIZED EFH DEBTORS, EFIH DEBTORS, OR
REORGANIZED EFIH DEBTORS AS OF THE EFH EFFECTIVE DATE; PROVIDED THAT
ANY AND ALL INTERCOMPANY CLAIMS (OTHER THAN THE TCEH SETTLEMENT
CLAIM) HELD BY OR HELD AGAINST THE TCEH DEBTORS, REORGANIZED TCEH
DEBTORS, EFH SHARED SERVICES DEBTORS, REORGANIZED EFH SHARED
SERVICES DEBTORS, OR ANY NON-DEBTOR AFFILIATE TO BE TRANSFERRED TO
THE REORGANIZED TCEH DEBTORS, INCLUDING EFH PROPERTIES COMPANY,
WERE RELEASED AS OF THE TCEH EFFECTIVE DATE.

IMPORTANT INFORMATION REGARDING THE RELEASES:

UNDER THE PLAN, “RELEASING PARTIES” MEANS, COLLECTIVELY, AND IN EACH CASE ONLY
IN ITS CAPACITY AS SUCH: (A) THE EFH/EFIH PLAN SUPPORTERS; (B)EFH MERGER SUB; (C)
INTERMEDIARY HOLDCO; (D) PARENT; (E) THE PLAN SPONSOR; (F) THE BACKSTOP PARTIES; (G)
HOLDERS OF TCEH FIRST LIEN CLAIMS; (H) HOLDERS OF TCEH SECOND LIEN NOTE CLAIMS;
(1) HOLDERS OF TCEH UNSECURED NOTE CLAIMS; (J) HOLDERS OF EFH LEGACY NOTE CLAIMS;
(K) HOLDERS OF EFH UNEXCHANGED NOTE CLAIMS; (L) HOLDERS OF EFH LBO NOTE PRIMARY
CLAIMS; (M) HOLDERS OF EFIH UNSECURED NOTE CLAIMS; (N) HOLDERS OF EFH LBO NOTE
GUARANTY CLAIMS; (O) THE DIP LENDERS; (P) THE TCEH FIRST LIEN AGENT; (Q) THE INDENTURE
TRUSTEES; (R) THE DEALER MANAGERS; (S) TEF; (T) TEXAS HOLDINGS; (U) ONCOR; (V) FUNDS AND
ACCOUNTS MANAGED OR ADVISED BY KOHLBERG KRAVIS ROBERTS & CO., L.P., TPG CAPITAL, L.P.
OR GOLDMAN, SACHS & CO. THAT HOLD DIRECT OR INDIRECT INTERESTS IN TEXAS HOLDINGS, TEF,
OR EFH CORP.; (W) THE COMMITTEES AND EACH OF THEIR RESPECTIVE MEMBERS; (X) HOLDERS OF
GENERAL UNSECURED CLAIMS AGAINST THE TCEH DEBTORS OTHER THAN EFCH; (Y) HOLDERS OF
GENERAL UNSECURED CLAIMS AGAINST EFCH; (Z) HOLDERS OF EFIH FIRST LIEN NOTE CLAIMS; (AA)
HOLDERS OF EFIH SECOND LIEN NOTE CLAIMS; (BB) HOLDERS OF GENERAL UNSECURED CLAIMS
AGAINST THE EFIH DEBTORS; (CC) HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST EFH CORP.;
(DD) HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST THE EFH DEBTORS OTHER THAN EFH
CORP.; (EE) HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST THE EFH SHARED SERVICES
DEBTORS; (FF) ALL HOLDERS OF CLAIMS AND INTERESTS THAT ARE DEEMED TO ACCEPT THE PLAN;
(GG) ALL HOLDERS OF CLAIMS AND INTERESTS WHO VOTE TO ACCEPT THE PLAN; (HH) ALL
HOLDERS IN VOTING CLASSES WHO ABSTAIN FROM VOTING ON THE PLAN AND WHO DO NOT OPT
OUT OF THE RELEASES PROVIDED BY THE PLAN; (Il) THE ORIGINAL PLAN SPONSORS; (JJ) OV2; (KK)
ANY AGENT UNDER THE EXIT FACILITIES; (LL) THE ROLLOVER TRUST TRUSTEE; (MM) THE NON-
ROLLOVER TRUST TRUSTEE; (NN) WITH RESPECT TO EACH OF THE DEBTORS (AND, PRIOR TO THE
TCEH EFFECTIVE DATE, THE TCEH DEBTORS AND THE EFH SHARED SERVICES DEBTORS), THE
REORGANIZED TCEH DEBTORS, THE REORGANIZED EFH SHARED SERVICES DEBTORS, AND THE
REORGANIZED EFH/EFIH DEBTORS, AND EACH OF THE FOREGOING ENTITIES IN CLAUSES (A)
THROUGH (MM), SUCH ENTITY AND ITS CURRENT AND FORMER AFFILIATES, AND SUCH ENTITIES’
AND THEIR CURRENT AND FORMER AFFILIATES’? CURRENT AND FORMER DIRECTORS, MANAGERS,
OFFICERS, EQUITY HOLDERS (REGARDLESS OF WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR
INDIRECTLY), PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES, AND EACH OF THEIR
RESPECTIVE CURRENT AND FORMER EQUITY HOLDERS, OFFICERS, DIRECTORS, MANAGERS,
PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS, ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS,
PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS, CONSULTANTS,
REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR CAPACITY AS SUCH; AND (00) ALL
HOLDERS OF CLAIMS AND INTERESTS, SOLELY WITH RESPECT TO RELEASES OF ALL HOLDERS OF

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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INTERESTS IN EFH CORP. AND THEIR CURRENT AND FORMER AFFILIATES, AND SUCH ENTITIES’ AND
THEIR AFFILIATES’ CURRENT AND FORMER EQUITY HOLDERS (REGARDLESS OF WHETHER SUCH
INTERESTS ARE HELD DIRECTLY OR INDIRECTLY), PREDECESSORS, SUCCESSORS, AND ASSIGNS,
SUBSIDIARIES, AND THEIR CURRENT AND FORMER OFFICERS, DIRECTORS, MANAGERS, PRINCIPALS,
MEMBERS, EMPLOYEES, AGENTS, ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS,
ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS, CONSULTANTS, REPRESENTATIVES, AND
OTHER PROFESSIONALS, EACH IN THEIR CAPACITY AS SUCH.

AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO PROVIDE THE RELEASES
CONTAINED IN ARTICLE VII.D OF THE PLAN, AS SET FORTH ABOVE. YOU MAY CHECK THE BOX
BELOW TO ELECT NOT TO GRANT THE RELEASE CONTAINED IN ARTICLE VII.D OF THE PLAN ONLY
IF THE COURT DETERMINES THAT YOU HAVE THE RIGHT TO OPT-OUT OF THE RELEASES AND ONLY
IF YOU (A) SUBMIT THE BALLOT BUT ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN OR
(B) VOTE TO REJECT THE PLAN. IN THE CASE OF SUCH A DETERMINATION BY THE COURT, IF YOU
VOTE TO REJECT THE PLAN, YOU WILL AUTOMATICALLY BE CONSIDERED TO HAVE OPTED OUT OF
THE RELEASES, REGARDLESS OF WHETHER YOU CHECK THE BOX BELOW. IF YOU SATISFY THE
ABOVE REQUIREMENTS AND CHECK THE BOX BELOW (OR VOTE TO REJECT THE PLAN), YOUR OPT-
OUT WILL ONLY BE EFFECTIVE IF SO ORDERED BY THE COURT. REGARDLESS OF WHETHER THE
COURT DETERMINES THAT YOU HAVE A RIGHT TO OPT-OUT OF THE RELEASES, IF YOU (A) VOTE TO
ACCEPT THE PLAN, (B) FAIL TO SUBMIT A BALLOT BY THE VOTING DEADLINE, OR (C) SUBMIT THE
BALLOT BUT ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN WITHOUT CHECKING THE
BOX BELOW, YOU WILL BE DEEMED TO CONSENT TO THE RELEASES SET FORTH IN ARTICLE VIILD
OF THE PLAN.

The Holder of the Class A6 and Class BS EFH LBO Claim set forth in Item 1 elects to:

[| Opt Out of the Releases.

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et al.
Beneficial Holder Ballot for

Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

Item 4. Certification of Class A6 and Class BS EFH LBO Claim Held in Additional Accounts.

By completing and returning this Ballot, the Beneficial Holder of the Class A6 EFH LBO Note Primary Claim and
Class B5 EFH LBO Note Guaranty Claim identified in Item 1 certifies that (a) this Ballot is the only Ballot submitted
for the Class A6 EFH LBO Note Primary Claim and Class B5 EFH LBO Note Guaranty Claim owned by such
Beneficial Holder as indicated in Item 1, except for the Class A6 EFH LBO Note Primary Claim and Class B5 EFH
LBO Note Guaranty Claim identified in the following table, and (b) all Ballots for Class A6 EFH LBO Note Primary
Claims and Class BS EFH LBO Note Guaranty Claims submitted by the Beneficial Holder indicate the same vote to
accept or reject the Plan that the Beneficial Holder has indicated in Item 2 of this Ballot (please use additional sheets of
paper if necessary). To be clear, if any Beneficial Holder holds a Class A6 EFH LBO Note Primary Claim and
Class B5 EFH LBO Note Guaranty Claim through one or more Nominees, such Beneficial Holder must identify
all Class A6 EFH LBO Note Primary Claim and Class B5 EFH LBO Note Guaranty Claims held through its own
name and/or each Nominee in the following table, and must indicate the same vote to accept or reject the Plan on
all Ballots submitted.

ONLY COMPLETE ITEM 4 IF YOU HAVE SUBMITTED OTHER BALLOTS ON ACCOUNT OF A CLASS A6
EFH LBO NOTE PRIMARY CLAIM AND A CLASS BS EFH LBO NOTE GUARANTY CLAIM

Account Number of Principal Amount of | CUSIP of Other Class A6
Other Class A6 and Class Name of Owner® Other Class A6 and and Class B5 Claims
B5 Claims Voted Class B5 Claims Voted Voted

[Remainder of page intentionally left blank_]

> Insert your name if the Class A6 EFH LBO Note Primary Claims or Class BS EFH LBO Note Guaranty
Claims are held by you in your own name or, if held in street name through a Nominee, insert the name of
your broker or bank.

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et al.
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Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

Item 5. Certifications.

Upon execution of this Ballot, the undersigned certifies that:

a.

as of the Voting Record Date, the undersigned was the Beneficial Holder (or authorized signatory for a
Beneficial Holder) of Claims arising from the Class A6 EFH LBO Note Primary Claim and Class BS EFH
LBO Note Guaranty Claim in the amount set forth in Item 1;

the Beneficial Holder has received a copy of the EFH Disclosure Statement, the Plan, and the remainder of the
Solicitation Package and acknowledges that the solicitation is being made pursuant to the terms and conditions
set forth therein;

the Beneficial Holder has not relied on any statement made or other information received from any person with
respect to the Plan other than the information contained in the Solicitation Package or other publicly available
materials;

the Beneficial Holder has cast the same vote with respect to all of the Beneficial Holder’s Class A6 EFH LBO
Note Primary Claims and Class B5 EFH LBO Note Guaranty Claims;

the Beneficial Holder understands and acknowledges that if multiple Ballots are submitted voting the claim set
forth in Item 1, only the last properly completed Ballot or Master Ballot voting the claim and received by the
Solicitation Agent before the Voting Deadline shall be deemed to reflect the voter’s intent and thus to
supersede and revoke any prior Ballots received by the Solicitation Agent.

the Beneficial Holder understands and acknowledges that the Solicitation Agent may verify the amount of
Class A6 EFH LBO Note Primary Claims and Class BS EFH LBO Note Guaranty Claims held by the
Beneficial Holder as of the Voting Record Date set forth in Item 1 with any Nominee through which the
Beneficial Holder holds its Class A6 EFH LBO Note Primary Claims and Class B5 EFH LBO Note Guaranty
Claims and by returning an executed Ballot the Beneficial Holder directs any such Nominee to provide any
information or comply with any actions requested by the Solicitation Agent to verify the amount set forth in
Item 1 hereof. In the event of a discrepancy regarding such amount that cannot be timely reconciled without
undue effort on the part of the Solicitation Agent, the amount shown on the records of the Nominee, if
applicable, or the Debtors’ records shal! control; and

the Beneficial Holder understands and acknowledges that all authority conferred or agreed to be conferred
pursuant to this Ballot, and every obligation of the Beneficial Holder hereunder, shall be binding upon the
transferees, successors, assigns, heirs, executors, administrators, and legal representatives of the Beneficial
Holder and shall not be affected by, and shall survive, the death or incapacity of the Beneficial Holder.

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[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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Item 6. Beneficial Holder Information and Signature.

Name of Beneficial Holder:

(print or type)
Signature:
Name of Signatory:

(if other than Beneficial Holder)
Title:

Address:

Date Completed:

THE VOTING DEADLINE IS 4:00 P.M. (PREVAILING EASTERN TIME) ON OCTOBER 30, 2017.

IF YOU RECEIVED A RETURN BALLOT ADDRESSED TO THE SOLICITATION AGENT (EPIQ
BANKRUPTCY SOLUTIONS, LLC), PLEASE COMPLETE, AND DATE THE BALLOT AND RETURN IT
PROMPTLY WITH AN ORIGINAL SIGNED COPY IN THE ENVELOPE PROVIDED SO THAT IT IS
ACTUALLY RECEIVED BY THE SOLICITATION AGENT BY THE VOTING DEADLINE.

IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR NOMINEE, PLEASE COMPLETE,
SIGN, AND DATE THE BALLOT AND RETURN IT IN ACCORDANCE WITH THE INSTRUCTIONS
PROVIDED BY YOUR NOMINEE. PLEASE ALLOW SUFFICIENT TIME FOR YOUR BALLOT TO BE
INCLUDED ON A MASTER BALLOT COMPLETED BY YOUR NOMINEE. THE MASTER BALLOT
MUST BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT ON OR BEFORE THE VOTING
DEADLINE.

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING INSTRUCTIONS,
PLEASE CONTACT THE SOLICITATION AGENT AT (877) 276-7311 OR E-MAIL
EFHVOTE@EPIQSYSTEMS.COM AND REFERENCE “EFH/EFIH” IN THE SUBJECT LINE.

[Remainder of page intentionally left blank_]

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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Class B5 EFH LBO Note Guaranty Claims

VOTING INSTRUCTIONS

As described in the EFH Disclosure Statement, the Debtors are soliciting the votes of Beneficial Holders of
Class A6 EFH LBO Note Primary Claims and Class B5 EFH LBO Note Guaranty Claims with respect to the
Plan referred to in the EFH Disclosure Statement. The Plan and EFH Disclosure Statement are included in the
Solicitation Package you are receiving with the Ballot. Capitalized terms used but not defined herein shall
have the meanings assigned to them in the Plan. PLEASE READ THE PLAN AND THE EFH
DISCLOSURE STATEMENT CAREFULLY BEFORE COMPLETING THIS BENEFICIAL
HOLDER BALLOT. You may wish to seek legal advice concerning the Plan and the treatment of your claim
or claims under the Plan.

The Plan can be confirmed by the Court and thereby made binding upon you if it is accepted by the Beneficial
Holders of at least two-thirds in amount and more than one-half in number of Claims in at least one class of
creditors that votes on the Plan and if the Plan otherwise satisfies the requirements for confirmation set forth in
section 1129(a) of the Bankruptcy Code.

To ensure that your vote is counted, you must: (a) complete the Ballot; (b) indicate your decision either to
accept or reject the Plan in Item 2 of the Ballot; and (c) sign and return the Ballot in accordance with the
instructions received and in the envelope provided, so that this Ballot (or the master ballot cast on your
behalf) is actually received by the Solicitation Agent by the Voting Deadline. If you are returning your
Ballot to the Nominee that provided you with this Ballot, your completed Ballot must be sent to your Nominee,
allowing sufficient time for your Nominee to receive your Ballot, complete a master ballot (“Master Ballot”),
and transmit the Master Ballot to the Solicitation Agent so that it is actually received by the Voting Deadline.

The Solicitation Agent will not accept any ballots by email, facsimile or other electronic means. If you
are directed by your Nominee to submit the Beneficial Holder Ballot to the Nominee via electronic means,
such instructions to your Nominee shall have the same effect as if you had completed and returned a physical
Beneficial Holder Ballot, including all certifications.

The time by which a Ballot is actually received by the Solicitation Agent shall be the time used to determine
whether a Ballot has been submitted by the Voting Deadline. The Voting Deadline is October 30, 2017, at
4:00 p.m., prevailing Eastern Time.

If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors determine otherwise
or as permitted by applicable law or court order. In all cases, Beneficial Holders should allow sufficient time
to assure timely delivery. No Ballot should be sent to the Debtors or the Debtors’ financial or legal advisors.
A Ballot will not be counted unless received by the Solicitation Agent.

The Beneficial Holder understands and acknowledges that if multiple Ballots are submitted voting the claim set
forth in Item 1, only the last properly completed Ballot or Master Ballot voting the claim and received by the
Solicitation Agent before the Voting Deadline shall be deemed to reflect the voter’s intent and thus to
supersede and revoke any prior Ballots received by the Solicitation Agent.

If a Holder holds a Claim or Interest, as applicable, in a Voting Class against multiple Debtors, a vote on their
Ballot will apply to all Debtors against whom such Holder or Nominee has a Claim or Interest, as applicable, in
that Voting Class.

If a Beneficial Holder simultaneously casts inconsistent duplicate Ballots, with respect to the same Claim, such
Ballots will not be counted.

The Ballot is not a letter of transmittal and may not be used for any purpose other than to vote to accept or
reject the Plan and to make certain certifications with respect thereto. Accordingly, at this time, creditors

should not surrender certificates or instruments representing or evidencing their Claims, and the Debtors will
not accept delivery of any such certificates or instruments surrendered together with a Ballot.

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

The Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim or Interest; or (b) an
assertion or admission with respect to any Claim or Interest.

Please be sure to sign and date your Ballot. If you are completing the Ballot on behalf of an Entity, indicate
your relationship with that Entity and the capacity in which you are signing.

You must vote your entire EFH LBO Note Claims either to accept or reject the Plan and may not split your
vote. Accordingly, a Ballot that partially rejects and partially accepts the Plan will not be counted as a vote to
accept or reject the Plan.

Any Ballot that is properly completed, executed and timely returned to the Debtors that fails to indicate
acceptance or rejection of the Plan or that indicates both an acceptance and a rejection of the Plan will not be
counted.

The following Ballots will not be counted in determining the acceptance or rejection of the Plan: (a) any Ballot
that is illegible or contains insufficient information to permit the identification of the Beneficial Holder; (b)
any Ballot cast by a Person or Entity that does not hold a Claim or Interest in a Class that is entitled to vote on
the Plan; (c) any unsigned Ballot; (d) any Ballot not marked to accept or reject the Plan, or marked both to
accept and reject the Plan; and/or (e) any Ballot submitted by a party not entitled to cast a vote with respect to
the Plan.

If you hold Claims or Interests in more than one Class under the Plan or for different Claims within a Class you
may receive more than one Ballot. Each Ballot votes only your Ciaims indicated on that Ballot. Please
complete and return each Ballot you receive.

For purposes of the numerosity requirement of section 1126(c) of the Bankruptcy Code, separate Claims held
by a single Creditor in a particular Class will be aggregated and treated as if such Creditor held one Claim in
such Class, and all votes related to such Claim will be treated as a single vote to accept or reject the Plan;
provided, however, that if separate affiliated entities hold Claims in a particular Class, these Claims will not be
aggregated and will not be treated as if such Creditor held one Claim in such Class, and the vote of each
affiliated entity will be counted separately as a vote to accept or reject the Plan.

This Beneficial Holder Ballot is not a letter of transmittal and may not be used for any purpose other than to

vote to accept or reject the Plan and to make certifications with respect to the Beneficial Holder Ballot. Accordingly, at
this time, holders of Bonds should not surrender certificates or instruments evidencing their bonds, and neither the
Debtor nor the Solicitation Agent will accept delivery of any such certificates or instruments surrendered with a
Beneficial Holder Ballot.

If you have any questions regarding this Ballot, or if you did not receive a copy of the Disclosure Statement or
Plan, or if you need additional copies of the enclosed materials, please contact the Solicitation Agent by phone at

(877) 276-7311 or via email to efhvote@epiqsystems.com.

PLEASE SUBMIT YOUR BALLOT PROMPTLY!

[CUSIP AS INDICATED ON THE ATTACHED EXHIBIT A]

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Class B5 EFH LBO Note Guaranty Claims

EXHIBIT A

Your Nominee may have checked a box below to indicate the EFH LBO Note to which this Ballot pertains, or
otherwise provided that information to you on a label or schedule attached to the Ballot.

CLASS A6 — EFH LBO NOTE PRIMARY CLAIMS
CLASS B5 — EFH LBO NOTE GUARANTY CLAIMS

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